AMARILLO DIVISION
UNITED STATES OF AMERICA §
Plaintiff,
v. 2:20-CR-92-Z-BR-(1)
JOSEPH DWAYNE GROSS
Defendant.

ORDER ADOPTING REPORT AND RECOMMENDATION
CONCERNING PLEA OF GUILTY

On October 21, 2020, the United States Magistrate Judge issued a Report and
Recommendation Concerning Plea of Guilty (“Report and Recommendation”) in the above
referenced cause. Defendant Joseph Dwayne Gross filed no objections to the Report and
Recommendation within the fourteen-day period set forth in 28 U.S.C. § 636(b)(1). The Court
independently examined all relevant matters of record in the above referenced cause—including
the elements of the offense, Factual Resume, Plea Agreement, and Plea Agreement Supplement—
and thereby determined that the Report and Recommendation is correct. Therefore, the Report and
Recommendation is hereby ADOPTED by the United States District Court. Accordingly, the Court
hereby FINDS that the guilty plea of Defendant Joseph Dwayne Gross was knowingly and
voluntarily entered; ACCEPTS the guilty plea of Defendant Joseph Dwayne Gross; and
ADJUDGES Defendant Joseph Dwayne Gross guilty of Count One in violation of 18 U.S.C. §

1071. Sentence will be imposed in accordance with the Court’s sentencing scheduling order.

Mf,

MATHEW J. KACSMARYK
TED STATES DISTRICT JUDGE

SO ORDERED, November x 2020.

 

 
